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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 EMILY BORCHARDT,                                 §
                                                  §
        Plaintiff,                                §
                                                  §
                                                  §          CIVIL ACTION NO. 1:19-cv-891
                                                  §
 vs.                                              §
                                                  §
 MELINDA MONTFORD;                                §
 MARGARET MOORE; and                              §
 TRAVIS COUNTY, TEXAS;                            §
                                                  §
        Defendants.                               §


ORDER GRANTING PLAINTIFF’S EXPEDITED APPLICATION FOR TEMPORARY
        RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       On this date, the Court considered Plaintiff’s Expedited Application for Temporary

Restraining Order and Preliminary Injunction (the “Motion”).

       The Court, having considered the Motion, finds that a Temporary Restraining Order should

be GRANTED.

       It is accordingly ORDERED that the Court finds the requirements for issuance of this

Temporary Restraining Order have been met by Plaintiff:

       It is HEREBY ORDERED that Defendants Melinda Montford and Margaret Moore are

immediately restrained and enjoined from making, or directing or encouraging others to make,

statements that explicitly or implicitly state or suggest that Plaintiff consented to being sexually

assaulted or that Plaintiff admitted she consented to being sexually assaulted.




ORDER GRANTING PLAINTIFF’S APPLICATION FOR TRO
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        This Order shall remain in effect until a temporary injunction hearing, a preliminary

injunction hearing, or a full trial on the merits of Plaintiff’s application for a preliminary injunction

can be held.

        IT IS FURTHER ORDERED that Plaintiff’s application for preliminary injunction is set

for a hearing on ____________________________. Defendants Melinda Montford and Margaret

Moore shall appear before this Court to show cause, if any, why this Court should not enter a

preliminary injunction extending the relief granted in this Order until a final adjudication on the

merits may be had.

        IT IS SO ORDERED.

        SIGNED this             day of                          , 2019.




                                                HONORABLE LEE YEAKEL
                                                UNITED STATES DISTRICT JUDGE




ORDER GRANTING PLAINTIFF’S APPLICATION FOR TRO
